Case 2: 97- --cr 20238- .]PI\/| Document 174 Filed 07/15/05 Page 1 of 3 Page|D 76
IN THE UNITED STATES DISTRICT COURT

FOR THE wEsTERN DISTRICT 0F TENNESSEE m h _] n nw
WESTERN DIVISION ‘“L 3 ~…

05 JUL 15 PH 2: 03

CR. Nos 97-20234-M@, hr-‘l;.fs

 

 

U"NITED STATES OF AMERICA )
) 97-20235-M1 '," .”_"`{,.
Plaintiff, ) 97-20236-Ml
) 97-20237-Ml
VS ) 97-20238-M1 f
) 97-20239-Ml
EDD[E JETER ) 97-20240-Ml
) 97-20241-MI
Defendant. )
ORDER TO SURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, AUGUST S,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Offlce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTEREDrhiSthe §§ dayof1u1y, 2005.

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PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

Thls document entered on the docket heat in compliance
with Ru|a 55 and/or 32{b) FFlCrP on z"[§ 113 / 7

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Sigoed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

UNITED sTATES D1STR1CT COURT - WESTE DI's'TR1CT OF ENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 174 in
case 2:97-CR-20238 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listedl

 

 

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Honorable J on McCalla
US DISTRICT COURT

